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             EXHIBIT A
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        History &fcysical                         o                     O/IATTILA, Mll^ E - (aac)-o^                  05550

        * Final Report *
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                                                                * Final Report *
                                                   Document Has Been Updated

        AHS MLP H & P General Admission (TH)

        Patient: MATTILA, MILDA E            MRN: (aac)-009205550       FIN: 011834378-2362
        Age: 87 years    Sex: Female        DOB: 11/7/1925
        Associated Diagnoses: None
        Author:   Burroughs PA-C, Denrse M
                                                                                                                                  !
        AHS Internal Medicine History and Physical                                                                                i


        Documentation by: Physician Assistant                                                                                     i
        Attending Physician: Dr. R. Ibrahim
                                                                                                                                      ;
                                                                                                                                      i
        Supervising Physician Comments
           Documentation                                                                                                              !
              By: Physician Assistant.
                                                                                                                                      i
        Admission Information
        CC: IV antibiotic/antifungal, ventilator wean, decorditioning
                                                                                                                                      i
        History of Present Illness
        The patient is an 86-year-old Caucasian female with past medical history of dementia, GERD, Barrett's esophagus,              i
        arthritis, TIA and hypertension Who was admitted for fungal meningitis complicated by epidural abscess and
I
!
        admitted to the MICU with early sepsis and possible c.diff pancolitis. Prior to this admission, Mrs. Matilla was
                                                                                                                                      I
j       admitted to the hospital in early October after receiving a contaminated epidural steroid injection and developing            *

7
        fungal meningitis. Therapy was initiated with IV Voriconazole and Ambisome. In late October she subsequently                  r
        developed and episode of altered mental status requiring a brief admission to the MICU which resolved with out                !


I       intervention and was discharged to Canton ECF. Readmitted (1 0/5/1 2)for evaluation of fungal mennigitis and She
                                                                                                                                      I
s       subsequently was found to have an epidural abscess and underwent an L4-S1 laminectomy for decompression and                   I
f       abscess drainage (1 1/12/2012). She remained in the hospital after this on voriconazole and ambisome, but                     I
f       develeoped a UTI w/ urine cultures growing psudomonas in late november. She subsequently received a 3 day                     I
        course of cefipime. that ended on Novermber 25th. Abdominal CT {1 2/3/1 2)revealed pancholitis and stool positive             i
        (12/4/12)for C. diff colitis. Placed on p.o. vancomycin. Patient was intubated on 12/06/2012 due to impending                 I
                                                                                                                                      f
5       respiratory failure and being unable to tolerate spont mode/weakness, patient trached on 12/13/2012 due to                    t
I       ventilator dependent respiratory failure. Patient on nasogastric (NG) tube feeds, peg tube placed (( 12/19/1 2)for            i
        enteral access. Patient slowly improved and being stable was transfered to Select hospital for continuation of IV
        antifungais/oral antibiotics, ventilator weaning and deconditioning.

i       Past Medical History
           Past Medical Hx

!              Active
                      Clostridium difficile (10871012): Onset in 2012 at 87 years.
                  Resolved
i                     GERD - Gastroesophageal reflux disease (2535970019): Resolved.
                       Hypertension (64176011): Resolved.
                       Dementia (8727401 9): Resolved.
I                      Arthritis (7278014): Resolved.




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             History &            ysical
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                         Muscle weakness (44445016): Resolved.
                         Dehydration (56942018): Resolved.

             Surgical History
               Surgical/Procedure Hx
                                                                                                                                                     I
                                                                                                                                                     s
                    Gallbladder absent (441386014).                                                                                                  I
                    Eye (135599015).
                    Appendectomy (132967011).                                                                                                        1


             Health Status                                                                                                                           v
               Allergies
                    Alleroic Reactions (Alll                                                                                                         t
                         Severity Not Documented
                              Cipro- No reactions were documented.
                              Codeine- No reactions were documented.
                Medication List (Selected)
                   Prescriptions
                         Ordered


                                                                                                                                                         \
                                Atrovent 0.02% Inh Soi: 500 meg, Nebul, Resp BID, 60 Each
                                Benadryl 25 mg oral tablet: 1 Tab, PO, Q6h, 30 Each, PRN: Itching/Pruritus
!                               Chlorhexidine 0.12% Oral Rinse: 15 mL, Swish&Spit, Q12h, 60 Each
                                Pat Malabsorption Formula: See Instructions, Enteral Tube Q24h, 1 Each
I                               Ferrous Sulfate Elixir 300 mg, PO, Daily, 30 Each
                                Fluticasone 50 meg Nasal Spray: 1 Spray, Nares-Both, BID, 60 Each
                                Miconazole 2% Powder: 1 Appl, Topical, BID, 60 Each
<
                                Morphine Inj: 2 mg, IV Push, Q4h, 30 Each, PRN: Pain - Mild
                                Protein Modular 30 mL, Enteral Tube, Q24h, 1 Each
                                Triamcinolone 0.1% Oint 1 Appl, Topical, BID, 60 Each
                                Ultram 50 mg oral tablet: 1 Tab, PO, Q6h, 30 Each, PRN: Pain - Moderate
•:
                                Voriconazole Inj: 150 mg, IV, Q12h, 56 Each
                                Zofran 2 mg/ml injectable solution: 2 mL, IV Push, Q6h, 30 Each, PRN: See Comments
                                heparin: 5,000 Unit, Subcut, Q12h, 60 Each
i                           insulin regular SHORT-Acting: Per Sliding Scale, Subcut, Q6h, 30 Each
                            sodium bicarbonate 650 mg oral tablet: 2 Tab, PO, Ql2h, 60 Each
                            vancomycin 125 mg oral capsule: 1 Cap, PO, Q6h, 65 Cap
                     Documented Medications
                           Ordered
                                Caltrate: 1,200 mg, PO, BID, Each
i
                                Centrum: PO, Daily, Each
                                Isopto Tears: 1 Drop, Eyes-Both, QID, Each
 ;
                                Protonix; 40 mg, PO, Daily, Each
                                acetaminophen: 650 mg, PO. Q4h. Each. PRN: Pain-Mild/Fever greater than 100.4 (38C)
                                albuterol 2.5 mg/3 mL (0.083%) inhalation solution: 2.5 mg, 3 mL, Inhalation, Q4h, 120 Each, PRN: Shortness of
\                                 Breath


             Review of Systems

I            Patient unable to cooperate with this part of the exam.


i            Family History
                Positive for strokes.
i

i            Social History
                Denies smoking, drinking or illicit drug usage. Prior to admission, the patient was residing at Regency in Canton




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            History &        ftysical                  o                           O/IATTILA, »,& E - (aac)-0&S05550
            * Final Report *

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              at rehabilitation mildly dependent on her ADLs.
              Social History (from Forms)
                                                                                                                                            I
                       Smoking Status                             Never    Smoker
                        How Often Do You Drink            . .      Never    (0)
                        How Often Do You Drink
                        Social Hx 13 Years Olde. .
                                                          . .      Never
                                                                   Yes
                                                                             (0)
                                                                                                                                            I
                                                                                                                                            i
                        Smoking Status                             Never    Smoker

                                                                                                                                            i
                                                                                                                                            i
            Physical Examination
                                                                                                                                            !
                                                                                                                                            t



            Vital Signs: T98.0, HR 94, RR 27, BP 179/80
                                                                                                                                            I
                                                                                                                                            I
            Gen: trach/peg in place on trach collar, nad, sleeping, opens eyes to verbal, tracks.                                           \
            HENT: NC/AT                                                                                                                     t"
            Eyes: anicteric, normal conjunctivae                                                                                                f
            CV: RRR, no m/r/g
I           Lungs: scattered rhonchi, mech BS                                                                                                   f
                                                                                                                                                I
            Abd: soft, nt, mildly distended, nabs
\           Ext: 2+ edema/anasarca improving                                                                                                    t
            Skin. 5"x4" mpm b;amcomg area around cocyx with stage 2 pressure ulcer in center. Lumbar incision clean/dry and                     t
            intact.                                                                                                                             i
!                                                                                                                                               i
            Neuro: CM grossly intact, squeezes hands to command
                                                                                                                                                i
s                                                                                                                                               s
i           Results Review                                                                                                                      I
               General Results
               Radiology : RADIOLOGY
!                                                                        XR Chest 1 View            REPORT
5                              12/26/2012       9:05 EST
                               12/21/2012       6:03 EST                 XR Abdomen 1 View          REPORT

|
            Impression and Plan

                  impression and Plan
I                       Diagnosis
                           C. difficile colitis (ICD9 006.45, Working. Medical).
I                          Fungal meningitis (ICD9 117.9, Working, Medical).
                           Ventilator dependence (ICD9 V46.11, Working, Medicat).
                           Physical deconditioning (ICD9 728.2, Working, Medicat).
i
i                     1 .C. diff colitis with H/O septic shock (prior facility)
    I                 - CT from admitting facility showed evidence of pancolitis and stool positive for c.diff.
    j                 - Cont po vanco, ID was on consult, Dr Moudgal rec on 12/26 to decrease po vanco 500 mg q6h to 125 mg
3                        q6h x 1 week, then 125 mg po q12h x 1 week, then 125 mg po qd x 1 week, then 125 mg po qod x 4 weeks.
    i
3
    i                 2. Fungal epidural abscess with H/O L5-S1 abscess drainage with laminectomy on 1 1/12/12 with Dr Thomas.
 '
4                     - Will need to postop f/u assessement in 6 weeks. Neurosurgery consulted.
    5                 - Continue voriconazole IV 150 mg q12hr indefinitely per ID Dr Moudgal, who will continue to follow (ID
    I



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                History &           ysical                                       ATT! LA, Ml                                               !.
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                        cosulted).                                                                                                             ?
                                                                                                                                               I
                     - follow EKG q48h while on Voriconazole for Qt prolongation                                                               I
                     - foilow daily LFTs while on voriconazole.
                     - follow weekly voriconazole levels, last level on 12/26 was not drawn as a trough (right before voriconazole


                                                                                                                                               !
                         administration) per pharmacy. Repeat voriconazole trough drawn tonight (ordered).

                     3. Encephalopathy, unclear etiology - ? Critical illness myopathy
                     - At previous admitting facility, Neuro consulted . EEG negative for subclincal seizures
                     - Resolving.

                     4. Ventilator dependent Respiratory Failure
                     - Pt required trached (12/13/2012) and PEG tube(12/19/12)
                     - has been on trach collar during the day and sometimes needs to go on spont during the day if she tired out,
i
                        and AC vent at night
                     - cont iv bumex 0.5 mg BID for vol overload.
j                    -ID rec against treating pseudomonas in sputum or urine unless has frank new infection (i.e. fever,
                        leukocytosis, new infiltrate).
                     - has had intermittent low grade temps, but repeat CXR stable on 12/22, and wbc count has been relatively
                        stable in 1 1-13 range.
                      -Cont NM"Ts with albuterol/atrovent.
                      -Respiratory Therapy to eval and treat

                       5. Normocytic anemia
}
                      -T&S sent, iron studies show iron sat 14%, likely iron def and chronic disease.
                      -no signs of active bleeding, stool occult blood neg
                      -Receiving Iron supplementation.                                                                                             i
                      -transfused 1 unit prbc 12/24 given bp on low side, appeared fatigued, had been in 8-10 range earlier in
    !
                          admission, now increased to 9 range, pt appears to have perked up and BP increased afterwards.
.J



                      Code Status: Full Code
                      DVT prophylaxis: Subq heparin
                      FEN: cont tube feeds via peg
                      Dispo: To be determined
    ;


                      Primary MD- Dr. Catherine Upton
                      Pt. Contact: 1st: Charlene (daughter) 734-233-7225. 2nd (if Charlene not available) Carol (daughter)
                        734-612-6017.
    i
                      This patient was seen and discussed with Dr. R. Ibrahim , AHS internal medicine attending physician, who
                         agrees with the above plan and management.



                Completed Action List:
    ;           * Perform by Burroughs PA-C, Denise M on 27 December 2012 17:06 EST
        !
                * Sign by Burroughs PA-C, Denise M on 27 December 2012 17:06 EST
                * VERIFY by Burroughs PA-C, Denise M on 27 December 2012 17:06 EST
                * Modify by Burroughs PA-C, Denise M on 27 December 2012 17:09 EST
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        History &      ft   ysical
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        * Final Report *                                                                                                 i

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        *   Sign by Burroughs        PA-C,    Denise M on   27   December 201 2   17:09   EST
                                                                                                                             [
        Result type:               History & Physical
        Date:                      27 December 2012 15:04 EST                                                                !
                                                                                                                             ;
        Result status:             Modified
        Result title:              AHS MLP H & P General Admission (TH)                                                      :

        Performed by:              Burroughs PA-C, Denise M on 27 December 2012 17:06 EST
        Verified by:               Burroughs PA-C, Denise M on 27 December 2012 17:06 EST
        Encounter info:            01 1834378-2362, (AA) SJMH, Long Term Acute (P2), 7/27/2012 -                             I




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